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UN|TED STATES DlSTRlCT COURT
MIDDLE DlSTRlCT OF LOU|S|ANA

ATCHAFALAYA BAS|NKEEPER,
LOU|SIANA CRAWF!SH PRODUCERS
ASSOC|AT|ON-WEST, GULF RESTORATION C|VlL ACT|ON

NETWORK, WATERKEEPER ALL|ANCE, AND
S|ERRA CLUB AND |TS DELTA CHAPTER

VERSUS 18*23-SDD-EWD

U.S. ARMY CORPS OF ENG|NEERS

BUL"‘~|W?¢_.__CRQ|B

`l'his matter is before the Court on the Motr'on for Preliminary injunction1 filed by
Plaintitis, Atchafa|aya Basinkeeper, Louisiana Crawfish Producers Association-West,
Gulf Restoration Networkl Waterkeeper Allianoe, and Sierra C|ub and its Delta Chapter
("Plaintiffs"). Defendant, U.S. Army Corps of Engineers (“Corps") filed an Opposrtr'on to
this motion,2 as did intervenor Bayou Bridge Pipe|ine, LLC ("BBP")3 and lntervenor Stupp
Bros, |nc. d!bla Stuff Corporation ("Stupp”).4 The Court held a preliminary injunction
hearing on February 8 and February 9, 2018 where the Court took evidence and heard
argument on Plaintiffs' motion. All parties were granted leave to file Post-Hearing Briefs

on the motion,5 which the Court has reviewed in considering this motion.

 

1 Reo. Doc. No. 15. Plaintiffs initially filed a Mol‘r`on for a Temporary Restrar`ning Order(Rec. Doc. No. 16),
which the Court denied (Rec. Doc. No. 24).
2 Rec. Doc. No` 37-2.
3 Reo. Doc. No. 36.
4 Rec. Doc. No. 51.
5 Rec. Doc. Nos. 73, ?4, 75. & 76.
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For written reasons to be assigned at a later date, the Court hereby GRANTS the
preliminary injunction, and Defendant and lntervenors are hereby ENJOINED from taking
any further action on this project in order to prevent further irreparable harm until this
matter can be tried on the merits. The Court will issue detailed reasons supporting this
Rulr'ng as soon as possible.

lT lS SO ORDERED.

Baton Rouge, Louisiana, thisZ_:-§day of February, 2018.

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sHELLv Dj/blcl<, orsTRicT JUDGE
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